
33 Mich. App. 363 (1971)
189 N.W.2d 794
PEOPLE
v.
SHEPPARD
Docket No. 11081.
Michigan Court of Appeals.
Decided April 30, 1971.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Dominick R. Carnovale, Chief, Appellate Department, and Robert L. O'Hara, Assistant Prosecuting Attorney, for the people.
Carl Ziemba, for defendant on appeal.
Before: T.M. BURNS, P.J., and FITZGERALD and R.B. BURNS, JJ.
*364 PER CURIAM.
The defendant was charged with attempted larceny in a building. MCLA § 750.360 (Stat Ann 1954 Rev § 28.592) and MCLA § 750.92 (Stat Ann 1962 Rev § 28.287). After a nonjury trial he was found guilty and sentenced to a term of 1-1/2 to 2 years in prison.
The appeal questions the trial court's denial of the defendant's motion for a directed verdict in which he alleged that the corpus delicti had not been proven because there was no testimony that he actually saw the money in the cash register. The people move to affirm the conviction.
The elements of the crime, felonious intent to commit larceny in a building and an overt act going beyond a mere preparation towards the commission of the crime, were clearly established by the testimony. People v. Bowen (1968), 10 Mich App 1, 7. It was not necessary to the conviction that the defendant actually see the money in the cash register. The question sought to be reviewed is so unsubstantial as to require no argument or formal submission.
Motion to affirm is granted.
